Case 6:07-cv-00204-LED Document 291-27 Filed 03/15/10 Page 1 of 5 PageID #: 16752




                             Exhibit Z
      Case 6:07-cv-00204-LED
2/24/2010                                Document 291-27   Filed 03/15/10 Page 2 of 5 PageID #: 16753
                                                      Sony USA

                                                                                                                       Close




  Senior Management
                       Sir Howard Stringer
                       Chairman, Chief Executive Officer and President, Sony Corporation

                       Sir Howard has been Chairman and Chief Executive Officer of Sony Corporation since June 2005. He
                       added the title of President in 2009. He is also a Representative Corporate Executive Officer of Sony
                       Corporation.



  Sir Howard also serves as Chairman and Chief Executive Officer of Sony Corporation of America, as well as corporate
  head of Sony Corporation's Entertainment Business Group. He is a member of the Board of Directors of Sony Corporation,
  a Board member of Sony Music Entertainment, and oversees Sony's other music-related holdings in the U.S. Sir Howard is
  also Chairman of the Board of Sony Ericsson Mobile Communications, a 50/50 joint venture of Sony Corporation and
  Telefonaktiebolaget LM Ericsson. He joined Sony Corporation in May 1997.

  Prior to joining Sony, Sir Howard had a distinguished 30-year career as a journalist, producer and executive at CBS Inc. As
  President of CBS from 1988 to 1995, he was responsible for all the broadcast activities of the company including
  entertainment, news, sports, radio and television stations. Under his leadership, the CBS Television Network became the
  first network to rise from last to first place in one season. In 1993, in what became one of the most chronicled coups in
  television history, Sir Howard convinced David Letterman to bring his critically acclaimed late night show to CBS.

  From 1986 to 1988, Sir Howard served as President of CBS News, where he developed several new programs including
  the award-winning 48 HOURS, which continues as a primetime hit to this day. Prior to that, during his tenure as executive
  producer of the CBS EVENING NEWS with Dan Rather from 1981 to 1984, that program became the dominant network
  evening newscast of its day. From 1976 to 1981, while he was executive producer of the CBS REPORTS documentary unit,
  it won virtually every major honor, including 31 Emmys, four Peabody Awards, three Alfred I. duPont-Columbia University
  Awards, three Christopher Awards, three Overseas Press Club Awards, an ABA Silver Gavel and a Robert F. Kennedy
  Grand Prize. Among his award-winning programs are THE ROCKEFELLERS, THE PALESTINIANS, A TALE OF TWO
  IRELANDS, THE DEFENSE OF THE UNITED STATES, THE BOAT PEOPLE, THE BOSTON GOES TO CHINA, THE FIRE
  NEXT DOOR, and THE CIA'S SECRET ARMY. He earned nine individual Emmys as a writer, director and producer from
  1973 to 1983.

  After leaving CBS Inc., Sir Howard was Chairman and CEO of TELE-TV, the media and technology company formed by Bell
  Atlantic, NYNEX and Pacific Telesis, three of the largest telephone companies in the United States, from February 1995 to
  April 1997.

  Sir Howard is the recipient of numerous media and philanthropic awards. The Paley Center for Media (formerly The
  Museum of Television and Radio) presented him with its Visionary Award for Innovative Leadership in Media &
  Entertainment in February 2007. He has also been honored by Lincoln Center, Big Brothers Big Sisters and the New York
  Hall of Science. In May 1999, he was honored with the UJA-Federation of New York's Steven J. Ross Humanitarian Award
  and in November 1999, he was inducted into the Royal Television Society's Welsh Hall of Fame. In 1996 he was awarded
  the First Amendment Leadership Award by the Radio & Television News Directors Foundation in Washington, D.C., and
  was inducted into the Broadcasting and Cable Hall of Fame.


sony.com/utilities/printable.php?page…                                                                                         1/2
       Case 6:07-cv-00204-LED Document 291-27
2/24/2010                                                     Filed 03/15/10 Page 3 of 5 PageID #: 16754
                                                       Sony USA
  Sir Howard serves as Chairman of the American Film Institute Board of Trustees and is on the Board of Trustees of the
  Paley Center for Media. He is also North American Chairman of the British Army Benevolent Fund. He is a board member of
  The New York/Presbyterian Hospital, The American Theatre Wing, the American Friends of the British Museum, the
  Corporate Leadership Committee of the Lincoln Center for the Performing Arts, and Carnegie Hall. A native of Cardiff,
  Wales, Sir Howard received the title of Knight Bachelor in the New Year Honours list of Her Majesty Queen Elizabeth II on
  December 31, 1999. He holds a B.A. and an M.A. in modern history from Oxford University. He has honorary Fellowships
  from Merton College, Oxford, and the Welsh College of Music and Drama. Sir Howard has also received Honorary
  Doctorates from the University of Glamorgan in Wales and the London Institute. He is a recipient of the U.S. Army
  Commendation Medal for meritorious achievement for service in Vietnam (1965-1967). He became a U.S. citizen in 1985.
  He is married to Dr. Jennifer A.K. Patterson, a dermatologist, and they have two children.

  Headquartered in Tokyo, Japan, Sony Corporation is a leading manufacturer of audio, video, communications and
  information technology products for the consumer and professional markets. Its motion picture, television, computer
  entertainment, music and online businesses make Sony one of the most comprehensive entertainment companies in the
  world. Sony recorded consolidated annual sales of approximately $78.9 billion for the fiscal year ended March 31, 2009,
  and it employs 171,300 people worldwide.

  February 2010

  Career Milestones
  Sir Howard Stringer Profile




sony.com/utilities/printable.php?page…                                                                                        2/2
      Case 6:07-cv-00204-LED
2/24/2010                                Document 291-27   Filed 03/15/10 Page 4 of 5 PageID #: 16755
                                                      Sony USA

                                                                                                                      Close




  Senior Management
                       Nicole Seligman

                       Executive Vice President, General Counsel, Sony Corporation
                       Corporate Executive Officer, Sony Corporation
                       Executive Vice President, General Counsel, Sony Corporation of America

                       Nicole Seligman holds the position of Executive Vice President and General Counsel, Sony
                       Corporation, reporting to Sir Howard Stringer, Chairman and Chief Executive Officer, Sony Corporation.

                       She oversees legal, compliance and internal audit activities for Sony Corporation, and serves as a
  member of Sony's Group Executive Committee.

  Ms. Seligman joined Sony Corporation of America (SCA) as Executive Vice President and General Counsel in September
  2001, reporting to Sir Howard Stringer. She was appointed Corporate Executive Officer, Sony Corporation, in June 2003,
  and was promoted to General Counsel of Sony Corporation in June 2005. Ms. Seligman retains her responsibilities as
  EVP and General Counsel for SCA, overseeing all legal, intellectual property, governmental, regulatory and general affairs
  activities.

  Ms. Seligman joined SCA from Williams & Connolly LLP in Washington, D.C. where she was a partner in the firm's
  litigation practice working on a broad range of complex civil and criminal matters, and counseling a wide range of clients
  including President William Jefferson Clinton and Lt. Col. Oliver North.

  Prior to that, she served as law clerk to Justice Thurgood Marshall on the Supreme Court of the United States (1984-1985),
  and as law clerk to Judge Harry T. Edwards at the U.S. Court of Appeals for the District of Columbia (1983-l984). From
  1978-l980 she was associate editorial page editor for the Asian Wall Street Journal based in Hong Kong.

  She received her B.A., magna cum laude, from Harvard College (Radcliffe) in 1978, and her J.D., magna cum laude, from
  Harvard Law School in 1983.

  Headquartered in Tokyo, Japan, Sony Corporation is a leading manufacturer of audio, video, communications and
  information technology products for the consumer and professional markets. Its motion picture, television, computer
  entertainment, music and online businesses make Sony one of the most comprehensive entertainment companies in the
  world. Sony recorded consolidated annual sales of approximately $78.9 billion for the fiscal year ended March 31, 2009,
  and it employs 171,300 people worldwide.

  February 2010




sony.com/utilities/printable.php?page…                                                                                         1/1
      Case 6:07-cv-00204-LED
2/24/2010                            Document    291-27
                                       PlayStation.com     Filed
                                                       - About   03/15/10
                                                               SCEA - Mana… Page 5 of 5 PageID #: 16756

                                                                                                                      Find friends. Download demos.
                                                                                                                      Join the conversation.



                                                                                                                Search PlayStation.com




 About SCEA

                                         Management
      Managem ent
       Kazuo Hirai                       Kaz Hirai
                                         Corporate Executive Officer and Executive Vice President, President of Networked Products & Services Group,
       Jack Tretton
                                         Sony Corporation
       Jim Bass                          President and Group Chief Executive Officer, Sony Computer Entertainment Inc.
       Timothy Bender                    Chairman, Sony Computer Entertainment America Inc.

       Sally Buchanan

       Peter Dille                                                                     Kazuo (Kaz) Hirai brings over two decades of experience with Sony
       Glenn Nash                                                                      Group to his position as corporate executive officer and executive vice
                                                                                       president of Sony Corporation, concurrently serving as president of the
       Phil Rosenberg
                                                                                       company’s Networked Products & Services Group (Game, PC,
       Riley Russell                                                                   Networked Mobile and Network Service businesses and New
                                                                                       Business Incubation Project) as of April 1st 2009. In addition to his
       Scott A. Steinberg
                                                                                       new role, Hirai also continues to serve as president and group chief
       Shuhei Yoshida                                                                  executive officer of Sony Computer Entertainment Inc. as well as a
                                                                                       board member of Sony Computer Entertainment America Inc.
      The PlayStation® Story
                                                                                 One of the most recognized leaders in interactive entertainment, Hirai
      PlayStation® Milestones                                                    played a pivotal role in elevating the industry to a stature which now
                                                                                 rivals Hollywood box office revenues. Previously named “mogul in the
      Com m unity Involvem ent                                                   running” in Vanity Fair’s “New Establishment” list, and one of the most
      Resources
                                                                                 powerful executives in the business by Entertainment Weekly, Hirai
                                                                                 succeeded in establishing games as a significant genre on par with
      Our Offices                        music and movies, making the PlayStation® brand synonymous with exceptional gaming and non-gaming
                                         entertainment.
      Careers
                                         During his tenure with Sony Computer Entertainment America, Hirai was actively involved in launching
      Sponsorships                       groundbreaking platforms including original PlayStation® and PlayStation®2 computer entertainment systems.
                                         He also led the company’s entry into the portable entertainment arena with the launch of PSP®
                                         (PlayStation®Portable) handheld entertainment system in North America, as well as the North American
                                         introduction of PLAYSTATION®3 (PS3™) computer entertainment system. Hirai led the company into various new
                                         frontiers, including the introduction of PlayStation®2 online gaming in 2002 and PlayStation®Network in 2006,
                                         which has more than 20 million accounts worldwide as of today.
                                         Hirai joined Sony Computer Entertainment America in 1995, with responsibility for the operational management
                                         of the company under the former president. Before that, Hirai worked in Sony Music Japan’s New York office
                                         coordinating the marketing of Sony Music Japan artists in the U.S. Hirai began his career with CBS/Sony Inc.
                                         (now Sony Music Entertainment Japan) in 1984 where he was instrumental in the marketing coordination of
                                         international music in Japan and later headed the international business affairs department.
                                         Hirai received his bachelor of liberal arts degree from the International Christian University in Tokyo.




                                           Forums                                    Contact Us                                Consumer Alerts

                                           Support                                   About SCEA                                Privacy Policy

                                           Where to Buy                              Careers                                   Site Map

                                           Register your Product                     Press Releases                            Country Selector

                                         © 2009 Sony Computer Entertainment America Inc. All Rights Reserved.                  Terms of Serv ice




www.us.playstation.com/…/kazhirai.html                                                                                                                      1/1
